Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 1 of 98



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                                                                                   Ilia Mogilevsky
                                                                                   147 Sedona Way
                                                                                   Palm Beach Gardens, FL 33418


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Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 2 of 98

 AC) 440   (ltev. (16/1.2\ Sur,rr.rorrs in a Civil Acri,rr


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                                                                             Ior tlrc
                                                                Southcrn District ol' Florida

                          TAMARA FILIPPOVA




                                    I'luintil/g')
                                          V.                                            Civil Action No.
           lLlA MOGILEVSKY, et al. (see attached)




                                  Dcfbndtrnt(,r')


                                                             SUMI\{ONS IN A      CIVII, ACT'ION
To: (Defi,nt{trnI's     nilme uncl ttdclrc,rl;)


                                                    Erikah Bertoloti
                                                    839 Francis Street
                                                    West Palm Beach, Florida 33405


            A lawsuit has bccn filcd against you.

            Withilr     2l   days aftcr scrvice ol'this surl1n1olls on you (rrot counting thc clay you reccived it)   or 60 days if you
are the Urrited States or a Unitcd States agency, or an officer or employee                                                    -
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the FecleralRtrles of Civil Procetlure. The answer or nrotion nrust be served on the plaintiff
                                                                                               or plaintift,s attorney,
whose ttatrle antl acldress            a[e:
                                                  Gary Rosen, Esq. 1g0012
                                                  Rosen Law LLC
                                                  2'16 Lakeville Road
                                                  Great Neck, New York 11020



       lf you fail to responcl, jtrdgrnent by default will lre enl.erecl against you for the relief de6.ran6e6 in                       tle complairrt.
You also rnust file your answcr or rrrotion with the c<lurt.



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Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 3 of 98


 AO   440   (ltev.   0(ri   l2)   Sunrrlons in a Civil Actiorr


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                                  TAMARA FILIPPOVA




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                                               V.                                                Civil Action No.
            lLlA MOGILEVSKY, et al. (see attached)




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                                                                    SUMN{ONS IN A (IIVII-, ACTION

To: lDclbnfunI's             nanrc and ndtlrcs,t)


                                                                    Shlomo Ben Izhak
                                                                    l4 Salir Street
                                                                    Caesarea, Israel 38900


             A lawsuit has bccn filcd against you.

         Withill 2l clays altcr scruice o1'this surnmolls on you (not counting thc clay you rcceived it)        or 60 clays if you
are the Urrited Statcs oi a Unitcd States agency, or alt officer or employee of tn" United States
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the Federal Itules of Civil Proccdure. The answer or nrotion nrust be served orr the plaintilTor plaintitf
                                                                                                                 s attorney,
whose lrattre ancl adtlress are:
                                                           Gary Rosen, Esq. 1g0012
                                                           Rosen Law LLC
                                                           216 Lakeville Road
                                                           Great Neck, New York 11020



       If you lail to respond,.iudgrrreltt lry clcfault will be enl.ercd against you for t6e relief clcr1ralclccl in tlre complalrrt.
You also must file your answer or nrotion with the court.



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                                   TAMARA FIL.IPPOVA




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                                                        V.                                                         (livil Actiorr No.
                     lLlA MOGILEVSKY, et al. (seer attaclreci)




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 wlrosc tlattlc antl itrklrcss                      a'c:            Gary Rosen, Esq. 1g0012
                                                                    llosen Law LLC
                                                                    2'16 Lakeville Road
                                                                    Great Neck, New york 11020



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Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 5 of 98




  AO 440 (llev. 06/12) Surnmons in a Civil Action



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                                                                     for the

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                       TAMARA FILIPPOVA




                                Plainrffis)
                                    v.                                          Civil Action No.
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                               De.fbndant(s)                           )


                                                      SUMMONS IN A CIVIL ACTION

  'lo:   (Delbndant's nome and   address)              Stephanie ReeVeS
                                                       JP Morgan Chase Bank
                                                       3399 PGA Boulevard
                                                       Palm Beach Gardens, Florida 33410


             A lawsuit     has been filed against you.

             Within   2l   days after service of this summons on you (not counting the day you received it)                     or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
                                                                                                                            -
  P. l2 (aX2) or (3)    you must serve on the plaintiffan answer to the attached complaint or a motion under Rule l2 of
                           -
  the Federal Rules of Civil Procedure. The answer or motion must be served on the                 plaintiffor plaintiffs attorney,
  whose name and address are:
                                 Gary Rosen, Esq. 1g0012
                                 Rosen Law LLC
                                          216 Lakeville Road
                                          Great Neck, New York 11020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT



  Date:
                                                                                             iigrrotr,,'e qf Cle,rr   ii   Deputy Clerk
Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 6 of 98


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                        TAMARA FILIPPOVA




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          lLlA MOGILEVSKY, et al. (see attached)




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 'l'o: (Delan,lort',t ,ilntp trnl          ultlrcs.t)
                                                                                KfiStin Demefitt
                                                                                2107 Spring Court
                                                                                palm Beach
                                                                                            Gardens, Florida 33410



           A lawsuit has bccrr filcd against you.

           Withirr 2l clays aficr scryicc of tlris surlrrlons on you (rrot counting thc day you reccivecl it)        or 60 days if you
 arc tlrc Ultitcd Statcs ot'a Llrtitcd States agcncy. or an ol"ficcr or cnrployee of the Unitecl Statcs <lcscribed irr l"'ccl. R. Cliv.                        -
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 thc F'ctlcral ltrrles tll'Civil Procctlurc. T'hc answcr ol rrrolion nrust be scrvetlon llre plaintill'or plaintil'l's aflorney,
 whose ltetnte and atldress ate:
                                     Gary Rosen, Esq. 1g0012
                                     Rosen Law LLC
                                     216 Lakeville Road
                                     Great Neck, New York 11020



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Yott also nrust file yorlr allswet'crr uroliorr wilh the corrrt.




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                                                                    llosen Law LLC
                                                                    216 Lakeville Road
                                                                    Great Neck, New york 11020



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                         TAMARA FILIPPOVA




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                                           V.                                             Civit Actiorr No.
            lLlA MOGILEVSKY, et al. (see attached)




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 'lO:
        lDelamlortt',t ntntp ttnl ru.lln'ss)
                                                             Natalia Mogilevsky
                                                             211 Grand Pointe Drive
                                                             Palm Beach Gardens, FL 33418



             A lawsuit has lrccn lilctl agninst you.

             Willrirr   2l   tlays aftcr scrvicc ol tlris sunllt.rolls on you (rrot courrtirrg thc tlay you reccivcd it)                  *    or 60 days if you
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                                                                                                                lllaintill's attorney,
 wltosc ttattte and atldress ate:
                                                    Gary Rosen, Esq. 1g0012
                                                    Rosen Law LLC
                                                    216 Lakeville Road
                                                    Great Neck, New York 11020



        lf you liril lo rcspontl..iutlgrrrcnt hy <lclault will llc cntcrerl agairrst yotr ftrr thc rclicIdernarrded in tlrc complaint.
You also rrrusl file your answcr crr rrrotiorr wilh tlrc courl.




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                                                                     Leslie Robert Evans & Associates, p.A.
                                                                     214 Brazilian Ave #200
                                                                     Palm Beach, FL 33480



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                                                                               Jason Evans, Esq.
                                                                               214 Brazilian Ave #200
                                                                               Palm Beach, FL 33480


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                                                                   Gary Rosen, Esq. 1g0012
                                                                   llosen Law LLC
                                                                   216 Lakeville Road
                                                                   Great Neck, New york 11020



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   AO 440 (Rev. 06/12) Surnrnons in a Civil Aition



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                        TAMARA FILIPPOVA




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                                    v.                                      .    Civil Action No.
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                              De.fbndant(s)                             )


                                                       SUMMONS IN A CIWL ACTION

   To:   1De'fendant's name and   address)           Trump Real Estate Investments LLC
                                                     INCORP SERVICES, INC
                                                     17888 67TH COURT NORTH
                                                     LOXAHATCHEE, FL33470


             A lawsuit has been filed against you.

            Within 2t days after service of this summons on you (not counting the day you received it)     or 60 days if you
   are the United States or a United Siates agency, or an oflicer or employee of the United States
                                                                                                        -
                                                                                                   described in Fed. R. Civ.
   P. l2 (aX2) or (3)    you must serve on the plaintiffan answer to the attached complaint or a motion under Rule l2 of
                         -
  the Federal Rules of Civil Procedure. The answer or motion must be served on the                  plaintiffor plaintiffs attomey,
  whose name and address are:
                                 Gary Rosen, Esq. 1g0012
                                 Rosen Law LLC
                                           216 Lakeville Road
                                           Great Neck, New York 11020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT



  Date:
                                                                                              Signature o/ Cterk orbuPrilY Clerk
Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 12 of 98

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                                                                                                            FHB Investments, LLC
                                                                                                            BAIKAL REAL ESTATE HOLDINGS LI
                                                                                                            211 Grand pointe Drive
                                                                                                            Palm Beach Gardens, FL 3341g


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                                                                                                    Great Neck, New Yorl< 11020




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Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 13 of 98




   AO 440 (Rev. 06/12\ Surnmons in a Civil Aitiorr



                                           IJxTTED STaTES DTSTRICT COURT
                                                                     for the

                                                         Southern District of   Florida m
                        TAMARA FILIPPOVA




                                Plaintffis)
                                     v.                                         Civil Action No.
            lLlA MOGILEVSKY, et al. (see             attached)         l
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                                                       SUMMONS IN A CIVIL ACTION

   To:   lDefendanr's name and    address)
                                                 Ilia capital, LLC
                                                 MOGILEVSKY, ILIA
                                                 122 Sunset Cove Lane
                                                 PALM BEACH GARDENS, FL 33418


             A lawsuit has been filed against you.

             Within   2l   days after service of this summons on you (not counting the day you received it)                 or 60 days if you
                                                                                                                        -
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. l2 (aX2) or (3)    you must serve on the plaintiff an answer to the attached complaint or a motion under Rule l2 of
                           -
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiffor plaintiff s attorney,
  whose name and address           are:     Gary Rosen, Esq. 1g0012
                                            Rosen Law LLC
                                            216 Lakeville Road
                                            Great Neck, New York 11020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT



  Date:
                                                                                             Signaturie q/'Cti,'k or   ieputy Clerk
Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 14 of 98




   AO 440 (Rev. 06/12) Surnrnons in a Civil Action


                                          UXTTED STATES DTSTRICT CoURT
                                                                       for the

                                                           Southern District of   Florida EI
                        TAMARA FILIPPOVA




                                Ptaiinrffis)
                                     v.                                      "    Civil Action No.
            lLlA MOGILEVSKY, et al. (see attached)




                               De.fendant(s)                             )


                                                       SUMMONS IN A CIWL ACTION

   To:   1Defendant's name and   address)            SapOdilla 513,   LLC
                                                     Kudman Richman, Tama Beth
                                                     809 North Dixie HighwaY, Suite 208
                                                     West Palm Beach, FL 33401


             A lawsuit     has been   filed against you.

             Within   2l
                      days after service of this summons on you (not counting the day you received it)      or 60 days if you
                                                                                                                      -
  are the United States or a United Strates agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. l2 (a)(2) or (3)   you must serve on the plaintiff an answer to the attached complaint or a motion under Rule l2 of
                           -
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiffor plaintiff s attorney,
  whose name and address are:
                                   Gary Rosen, Esq. 1g0012
                                   Rosen Law LLC
                                   216 Lakeville Road
                                   Great Neck, New York 11020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT



  Date:
                                                                                               Signature ot'Clerk or Deptily Clerk
Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 15 of 98




   A() 440 (ttev. 06/12) Surnrnons in a Civil Aclion


                                            UNTTED STATES DTSTRICT COURT
                                                                        for the

                                                            Soutltern District of Florida

                         TAMARA FILIPPOVA




                                 riiintin@
                                      v.                                          Civil Action No.
            lLlA MOGILEVSKY, et al. (see attached)




                                Delbndartr(s)


                                                         SUMMONS IN A CIVIL ACTION

   To:   (Defbndant's nume and address)
                                                       US Land Trust
                                                       147 Sedona Way
                                                       Palm Beach Garders, FL 33418




             A lawsuit has been filed against you.

             Withil 2t  days after service of this summons on you (not counting the day you received it)            or 60 days if you
   are the United States or a United States   agency,  or  an officer or  employee   of the United States  described
                                                                                                                      -
                                                                                                                      in Fed. R' Civ.
   P. 12 (aX2)  or (3)    you   must serve on  the plaintiffan  answer   to the attached  complaint or  a motion  under   Rule l2 of
   the Federal Rules
                           -
                       of Civil Procedure.  The   answer  or  motion  must   be served  on the plaintiffor plaintiffs  attomey,
   whose name and address are:
                                     Gary Rosen, Esq. 1g0012
                                     Rosen Law LLC
                                             216 Lakeville Road
                                             Great Neck, New York '11020



          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
   You also must file your answer or motion with the court.



                                                                                     CLERK OF COURT



   Date:
                                                                                                Signature oJ'Clerk or Depuly Clerk
Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 16 of 98
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                                                                                          US Land Trust, LLC
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                                                                                          122 Sunset Cove LLC
                                                                                          PALM BEACH GARDENS, FL 33418

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                  lLlA MOGILEVSKY, et al. (see attached)




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                                                                                              D Street Investment LLC
                                                                                              INCORP SERVICES, INC
                                                                                              17888 67th Court North
                                                                                              Loxalratchee, F'L 33470


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 whosc ttittuc ittrtl itrltlrcss                          ilr.c:
                                                                                Gary Rosen, Esq. .1g0012
                                                                                liosen Law LLC
                                                                                216 Lakeville Road
                                                                                Great Neck, New york 11020



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Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 18 of 98

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                                                            v.                                                            (livil Action No.
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                                                                                       1608 7tl' Avenue North LLC
                                                                                       INCORP SERVICES, INC
                                                                                       17888 67TH COI]RT NORTH
                                                                                       LOXAHATCHEE, FL 3347A


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                                                                              Gary Rosen, Esq. 1g0012
                                                                              Rosen Law LLC
                                                                              216 Lakeville Road
                                                                              Great Neck, New York 11020




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Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 19 of 98




   A0 440 (l{ev. 06/12) Surnmons in a Civil Aition


                                           UNTTED STaTES DTSTRICT COURT
                                                                       for the

                                                           Southern District of Florida

                        TAMARA FILIPPOVA




                                Plaintill(s)
                                     v.                                          Civil Action No.
            lLlA MOGILEVSKY, et al. (see attached)




                               De.lbndant(s)


                                                        SUMMONS IN A CIWL ACTION

   To:   1Defendant's nAme and addre.ss)
                                                     122 Sunset Cove, LLC
                                                     Ilia Capital, LLC
                                                     122 Sunset Cove Lane
                                                     PALM BEACH GARDENS, FL 33418


             A lawsuit has been filed against you.

             Within 2l days after service of this summons on you (not counting  the day you received it)    or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed' R. Civ.
                                                                                                                            -
   P. l2 (a)(2) or (3)    *
                         you must serve on the plaintiff an answer to the attached complaint or a motion under Rule l2 of
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or                   plaintiffs attomey,
   whose name and address are:
                                  Gary Rosen, Esq. 1g0012
                                  Rosen Law LLC
                                           216 Lakeville Road
                                           Great Neck, New York 11020



          If you ftil to respond, judgment by default will be entered against you for the relief demanded in ttre complaint.
   You also must file your answer or motion with the court.



                                                                                    CLERK OF COURT



   Date:
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Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 20 of 98


  AO 44{} (l{ev. 0(r/12) Sunlrorrs in    ;r   ('ivil Action


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           lLlA MOGILEVSKY, et al. (see attached)




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                                                                 SUMMONS IN A CIVII, AC'TION
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                                                              Custom Management,LLC
                                                              4371 Northlake Blvd, Suite 305
                                                              PALM BEACH GARDENS ,FL 33410


            A lawsuil has bccrr lilctlagairrst you.

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 whose ltatrre atttj atldress are:
                                    Gary Rosen, Esq. 1g0012
                                    Rosen Law LLC
                                    216 Lakeville Road
                                    Great Neck, New York 11020



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                                                                             907 S. B Street, LLC
                                                                             Custom Management LLC
                                                                             4371 Northlake Blvd, Suite 305
                                                                             PALM BEACH GARDENS, FL 33410

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                                                                             Lake Worth 511 LLC
                                                                             INCORP SERVICES, INC
                                                                             17888 67th Court North
                                                                             Loxahatchee, FL 33470

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           1p111'n,1,,1tt',t   ,tttntt,trtttt   rttltlt\,.rst                    Hill Single Family LLC
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                                                                        INCORP SERVICES, INC
                                                                         17888 67th Court Nortti
                                                                        Loxatratche e,FL 33470



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                                                          Great Ner;k, New York 11020




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Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 24 of 98




   AO 440 (Rev. 06/12) Surnmons in a Civil Aition


                                         UXTTED STaTES DTSTRICT CoURT
                                                                   for the

                                                       Southern District of   Florida EI
                       TAMARA FILIPPOVA




                               Ptainrffis)
                                    v.                                        Civil Action No.
            lLlA MOGILEVSKY, et al. (see attached)




                              De.lbndant(s)


                                                    SUMMONS IN A CIVIL ACTION

   To:   lDe.fendant's name and   address)          GulfStream 4353 LLC
                                                    INCORP SERVICES,.INC
                                                    17888 67th CourtNorth
                                                    Loxahatchee,FL 33470


             A lawsuit has been filed against you.

             Within 2l days after service of this summons on you (not counting the day you received it)                        or 60 days if you
                                                                                                                           -
   are the United States or a United States agency, or an offrcer or employee of the United States described in Fed. R. Civ.
   P. l2 (a)(2) or (3)   you must serve on the plaintiffan answer to the attached complaint or a motion under Rule I2 of
                         -
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or                      plaintiffs attomey,
  whose name and address are:
                                 Gary Rosen, Esq. 1g0012
                                 Rosen Law LLC
                                          216 Lakeville Road
                                          Great Neck, New York 11020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                CLERK OF COURT



  Date:
                                                                                           Srg,   tatuie   o./   Cli,rk o, D"PrilY Clerk
Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 25 of 98




   A() 440 (Rev. 06/12)   Surnrnons in a   Civil Aition


                                               UXTTED STNTES DTSTRICT COURT
                                                                         for the

                                                             Southcrn District of Florida

                          TAMARA FILIPPOVA




                                  Plaintffis)
                                       v.                                          Civil Action No.
           lLlA MOGILEVSKY, et al. (see attached)




                                 De.fenda nt(s)


                                                          SUMMONS IN A CIVIL ACTION

   TO: ()e.fendant's nome and addre.ss)
                                                          611 7th Avenue LLC
                                                          147 Sedona Way
                                                          Palm Beach Garders, FL 33418



            A lawsuit has been filed against you.

            Within    2l    days after service of this summons on you (not counting the day you received it)                  or 60 days if you
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  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. l2 (a)(2) or (3)      *
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  the Federal Rules of Civil Procedure. The answer or motion must be served on the ptaintiff or                     plaintiffs attomey,
  whose name and address are:
                                 Gary Rosen, Esq. 1g0012
                                 Rosen Law LLC
                                                216 Lakeville Road
                                                Great Neck, New York '11020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                     CLERK OF COURT



  Date:
                                                                                                Signatrtre   d Ctirk oi b,rprttY   Clerk
Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 26 of 98




   AO 440 (Rev. 06/12) Surnmons in a Civil Action



                                           UxTTED STaTES DTSTRICT COURT
                                                                   for the

                                                       Southern District of Florida

                       TAMARA FILIPPOVA




                               Plainrffis)
                                    v.                                       Civil Action No.
            lLlA MOGILEVSKY, et al. (see attached)




                              Dqlbndant(s)


                                                    SUMMONS IN A        CIVI   ACTION

   To:   lDelendant'.r name and address)
                                                    Lucerne l2l3 LLC
                                                    INCORP SERVICES, fI{C.
                                                     17888 67TH COURT NORTH
                                                    LOXAHATCHEE, FL 33470

             A lawsuit has been filed against you.

             Within 21 days after service of this summons on you (not counting the day you received it)           *   or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (aX2) or (3)    you must serve on the plaintiff an answer to the attached complaint or a motion under Rule l2 of
                         -
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney,
  whose name and address           are:    Gary Rosen, Esq. 1g0012
                                           Rosen Law LLC
                                           216 Lakeville Road
                                           Great Neck, New York 11020



          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                               CLERK OF COURT



  Date:
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Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 27 of 98




   AO 440 (ltev.   Aill}\   Surnmons in a   Civil Aition


                                                UNTTED STATES DTSTRICT COURT
                                                                             for the

                                                                 Southern District of   Florida EI
                            TAMARA FILIPPOVA




                                   Plaintill$)                                  )
                                                                                )       Civil Action No.
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           lLlA MOGILEVSKY, et al. (see attached)
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                                  De.fbndant(s)                                 )


                                                              SUMMONS IN A CIWL ACTION

   To: [)qfbndant's     nente and addre,ss)
                                                           513 North E Street   LLC
                                                           INCORP SERVICES, fI{C. _
                                                            17888 67TH COURTNORTH
                                                           LOXAHATCHEE, FL 33470

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                      days after service of this summons on you (not counting the day you received it)       or 60 days if you
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                             -
  the Federal Rules of Civil Procedure. The answer or motion must be served on     the plaintiff or plaintiffs  attorney,
  whose name and address are:
                                   Gary Rosen, Esq. 1g0012
                                   Rosen Law LLC
                                   216 Lakeville Road
                                   Great Neck, New York 11020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                          CLERK OF COURT



  Date:
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Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 28 of 98




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                                                                  North B Street LLC
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                                                               INCORP SERVICES, [NIC.
                                                               17888 67TH COTJRT NORTH
                                                               LOXAHATCHEE, FL 33470


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Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 29 of 98

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                                                                                                                             Lake Worth 530 LLC
                                                                                                                             INCORP SERVICES INC
                                                                                                                              17888 67TH COURT NORTH
                                                                                                                             LOXAHATCHEE, FL3347O

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  tvltosc tlitttter lttttl ;ltklrcss                                                       ittc:             Gary Rosen. Esq. 1g0012
                                                                                                             lioson Law t-LC
                                                                                                             216 l.akeville fk;ad
                                                                                                             Great Neck, New York 11020




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Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 30 of 98




   AO 440 (Rev. 06112\ Surnrnons in a Civil Aition


                                          UXTTED STATES DTSTRICT CoURT
                                                                    for the

                                                        Southern District of Florida

                        TAMARA FILIPPOVA                               )
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                                                                      )
                                Plaintffis)                           )
                                                                      )       Civil Action No.
                                    v.
                                                                      )
           lLlA MOGILEVSKY, et al, (see attached)
                                                                      )
                                                                      )


                               De.lbndant(s)


                                                     SUMMONS IN A CIWL ACTION

  To:   lDefendant's nome and address)
                                                     Lake Worth 501 LLC
                                                     INCORP SERVICES, I}.trC.
                                                      17888 67TH COURT NORTH
                                                     LOXAHATCHEE, FL 33470


            A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it)              or 60         days if you
  are the United States or a United States agency, or an of{icer or employee
                                                                                                                 -
                                                                                       of the United States described in Fed. R. Civ.
  P. l2 (a)(2) or (3)         you must serve on the plaintiff an answer to the attached complaint or a motion under Rule l2 of
                    - Civil Procedure. The answer or motion must be served on the plaintiffor plaintiff s attorney,
  the Federal Rules of
  whose name and address           are:    Gary Rosen, Esq. 1g0012
                                           Rosen Law LLC
                                           216 Lakeville Road
                                           Great Neck, NewYork 11020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                CLERK OF COURT



  Date:
                                                                                             Signtatur"e   o! Cterk or Deputy Clerk
Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 31 of 98




   AO 440 (Rev. 06/12) Sumrnons in a Civil Aition


                                         UNTTED STnTES DTSTRICT CoURT
                                                                     for the

                                                         Southern District of   Florida m
                       TAMARA FILIPPOVA




                               Plaintffis)
                                    v.                                          Civil Action No.
           lLlA MOGILEVSKY, et al. (see             attached)          )
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                              De.fbndant(s)                            )


                                                      SUMMONS IN A         CIVI   ACTTON

   To: lDqpndant's   nome and   addre.ts)            219 NOrth B Street     LLC
                                                     INCORP SERVICES, [NC.
                                                     17888 67TH COURT NORTH
                                                     LOXAHATCHEE, FL 33470


            A lawsuit has been filed against you.

            Within 2l days after service of this summons on you (not counting the day you received it)   or 60 days if you
                                                                                                       -
  are the United States or a United States agency, or an officer or employee of the United States describedin Fed. R. Civ.
  P. l2 (aX2) or (3)   you must serve on the plaintiffan answer to the attached complaint or a motion  under   Rule I2 of
                         -
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiffor  plaintiffs  attomey,
  whose name and address          are:    Gary Rosen, Esq. 1g0012
                                          Rosen Law LLC
                                          216 Lakeville Road
                                          Great Neck, New York 11020



          If you fail to respond, judgrnent by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT



  Date:
Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 32 of 98




   AO 440 (Rev. 06/12\ Surnmons in a Civil Aition


                                          UXTTED STaTES DISTRICT CoURT
                                                                      for the

                                                          Southern District of   Florida EI
                       TAMARA FILIPPOVA




                               ptiinr,tfrrl                             )
                                    v.                                  )        Civil Action No.
            lLlA MOGILEVSKY, et at. (see            attached)           l
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                              De.lbndant(s)                             )


                                                      SUMMONS IN A CIVIL ACTION

   To:   lDelendant's name and address)
                                                                   LLC
                                                    621 North F Street
                                                    INCORP SERVICES, [NC.
                                                    17888 67TH COURT NORTH
                                                    LOXAHATCHEE, FL 33470

             A lawsuit   has been    filed against you.

             Within 2l days after service of this summons on you (not counting the day you received it)                  or 60 days if you
                                                                                                                     -
  are the United States or a United States agency, or an offrcer or employee of the United States described in Fed. R. Civ.
  P. l2 (aX2) or (3)    you must serve on the plaintiffan answer to the attached complaint or a motion under Rule l2 of
                         -
  the Federal Rules of Civil Procedure. The answer or motion must be served on the                  plaintiffor plaintiffs attorney,
  whose name and address are:
                                 Gary Rosen, Esq. 1g0012
                                 Rosen Law LLC
                                          216 Lakeville Road
                                          Great Neck, New York 11020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You atso must file your answer or motion with the court.



                                                                                   CLERK OF COURT


  Date:
                                                                                              Signature q/'Clerk or Deputy Clerk
Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 33 of 98




   AO 440 (Rev. 06/12) Surnrnons in a Civil Aition


                                          UNTTED STaTES DTSTRICT CoURT
                                                                      for the

                                                          Southern District of   Florida m
                        TAMARA FILIPPOVA




                                Plaintffis)
                                    v.                                           Civil Action No.
            lLlA MOGILEVSKY, et al. (see attached)


                                                                        )
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                                                                        )


                                                       SUMMONS IN A CIVIL ACTION

   To:   lDefendant's nome and   address)            232 NOrth C Street     LLC
                                                     INCORP SERVICES, [NC.
                                                     17888 67TH COURT NORTH
                                                     LOXAHATCHEE, FL 33470


             A lawsuit has been filed against you.

             Within 2l days after service of this summons on you (not counting the day you received it)             *
                                                                                                           or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (aX2) or (3)    you must sorve on the plaintiff an answer to the attached complaint or a motion under Rule l2 of
                          -
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiffor plaintiff s attorney,
  whose name and address           are:    Gary Rosen, Esq. 1g0012
                                           Rosen Law LLC
                                           216 Lakeville Road
                                           Great Neck, New York 11020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                   CLERK AF COURT



  Date:
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Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 34 of 98




   AO 440 (Rev. 06/12) Surnmons in a Civil Aition


                                         UXTTED STaTES DTSTRICT CoURT
                                                                     for the

                                                         Southern District of   Florida EI
                       TAMARA FILIPPOVA




                               Plaintffis)
                                    v.                                          Civil Action No.
                                                                       )
           lLlA MOGILEVSKY, et al. (see attached)
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                              Defendant(s)                             )


                                                       SUMMONS IN A CIVIL ACTION

   To   1Defendant's name and    address)           619 North F Street LLC
                                                    INCORP SERVICES, INC
                                                    17888 67th Court North
                                                    Loxatratchee,FL 33470



            A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it)                       or 60 days if you
                                                                                                                         -
  are the United States or a United States agency, or an offrcer or employee of the United States described in Fed. R. Civ.
  P. I 2 (a)(2) or (3)  you must serve on the plaintiff an answer to the attached complaint or a motion under Rule l2 of
                         -
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiffor plaintiff s attorney,
  whose name and address          are:    Gary Rosen, Esq. 1g0012
                                          Rosen Law LLC
                                          216 Lakeville Road
                                          Great Neck, New York 1 1020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT



  Date:
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Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 35 of 98




   AO 440 (Rev. 06/12) Summon,s in a Civil Aition



                                         UXTTED STaTES DTSTRICT CoURT
                                                                      for the

                                                          Southcrn District of   Florida m
                       TAMARA FILIPPOVA




                               Plaintffis)
                                    v.                                           Civil Action No.
           lLlA MOGILEVSKY, et al. (see             attached)            I)
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                                                                         )
                                                                         )
                              Delbndant(s)                               )


                                                       SUMMONS IN A CIVIL ACTION

   To   lDqpndant's name and     address)                          LLC
                                                    321 North E Street
                                                    INCORP SERVICES, INC
                                                    17888 67TH COURT NORTH
                                                    LOXAHATCHEE, FL 33470


            A lawsuit has been filed against you.

           Within 2l days after service of this summons on you (not counting the day you received it)     or 60 days if you
                                                                                                                     -
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. l2 (aX2) or (3)    you must serve on the plaintiff an answer to the attached complaint or a motion under Rule t2 of
                         -
  the Federal Rules of Civil Procedure. The answer or motion must be served on the                  plaintiffor plaintiffs attorney,
  whose name and address are:
                                 Gary Rosen, Esq. 1g0012
                                 Rosen Law LLC
                                 216 Lakeville Road
                                 Great Neck, New York 11020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT



  Date:
                                                                                              Signature ol'Clerk or Depttty Clerk
Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 36 of 98




   AO 440 (Rev. 06/12\ Surrrrtrons in a Civil Aciion


                                            UXTTED STETES DTSTRICT COURT
                                                                       for the

                                                           Southern District of   Florida EI
                        TAMARA FILIPPOVA                                 )
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                                 Plaintffis)                             )

                                      v.                                 )
                                                                         1   .    rt:--:r a ^a.r
                                                                                  Civil   Action No.
           lLlA MOGILEVSKY, et al. (see                attached)         I



                                De.fbndant(s)


                                                         SUMMONS IN A CIVIL ACTION

   To: lDepndant's     name and    address)
                                                       206 South C Street LLC
                                                       INCORP SERVICES, INC
                                                       17888 67TH COURT NORTH
                                                       LOXAHATCHEE, FL 33470


             A lawsuit has been filed against you.

             Within 21 days after service of this summons on you (not counting the day you received it)     or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States  described
                                                                                                                        -
                                                                                                              in Fed. R. Civ.
  P. 12 (a)(2) or (3)   you must serve on the plaintiffan answer to the attached complaint  or  a motion  under   Rule t2 of
                           -
  the Federal Rules of Civil Procedure. The answer or motion must be served     on the plaintiffor plaintiffs  attorney,
  whose nanre and address are:
                                  Gary Rosen, Esq. 1g0012
                                  Rosen Law LLC
                                            216 Lakeville Road
                                            Great Neck, New York '11020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                     CLERK OF COURT



  Date:
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Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 37 of 98




   A() 440 (Rev. 06/12)   Surnrnons in a   Civil Aition


                                               UxTTED STaTES DTSTRICT COURT
                                                                         for the

                                                             Southern District of   Florida EI
                          TAMARA FILIPPOVA




                                  Plaintffis)
                                       v.                                    "      Civit Action No.
           lLlA MOGILEVSKY, et al. (see attached)




                                De.lbndant(s)


                                                          SUMMONS IN A CIVIL ACTION

  To:   1De1'endant's name and     address)               l 16 NOfth E Street LLC
                                                          INCORP SERVICES, INC
                                                           17888                 NORTH
                                                                 'TTHCOURT
                                                          LOXAHATCHEE,         FL3347O


            A lawsuit has been filed against you.

            Within    2l    days after service of this summons on you (not counting the day you received it)                or 60 days if you
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  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (aX2) or (3)    you must serve on the plaintiffan answer to the attached complaint or a motion under Rule 12 of
                           -
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiffor plaintiff s attomey,
  whose name and address             are:      Gary Rosen, Esq. 1g0012
                                               Rosen Law LLC
                                               216 Lakeville Road
                                               Great Neck, New York 11020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                      CLERK OF COURT



  Date:
                                                                                                 Signature qf'Clerk or Deptily Clerk
Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 38 of 98




   AO 440 (Rev. 06/12) Surnrnons in a Civil Aitiorr



                                             UxTTED STaTES DTSTRICT CoURT
                                                                         for the

                                                             Southern District of   Florida m
                        TAMARA FILIPPOVA




                                 ptiiintiffrst

                                      v.                                            Civil Action No.
            lLlA MOGILEVSKY, et al. (see               attached)           l
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                                                                           )
                                                                           )
                                De lbndant(s)                              )


                                                          SUMMONS IN A CIWL ACTION

   To:   lDelendant's nome and addre.ss)
                                                         A Street Property LLC
                                                         INCORP SERVICES,INC
                                                         17888 67TH COURT NORTH
                                                         LOXAHATCHEE, FL 33470

             A lawsuit has been filed against you.

             Within    2l   days after service of this summons on you (not counting the day you received it)                          or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
                                                                                                                                  -
  P. l2 (a)(2) or (3)   you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                            -
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiffor plaintiff s attorney,
  whose name and address            are:         Gary Rosen, Esq. 1g0012
                                                 Rosen Law LLC
                                                 216 Lakeville Road
                                                 Great Neck, New York 11020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in tlre complaint.
  You also must file your answer or motion with the court.



                                                                                      CLERK OF COURT



  Date:
                                                                                                 Sr5'l   tdture ol Ctetrk   ,i   OuPrtlY Clerk
Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 39 of 98




   AO 440 (Rev. 06/12) Surnmons in a Civil Aition


                                          IJNTTED STNTES DTSTRICT COURT
                                                                        for the

                                                            Southern District of Florida

                       TAMARA FILIPPOVA




                               Ptaintillft)
                                    v.                                            Civil Action No.
            lLlA MOGILEVSKY, et al. (see attached)




                              De.lbndant(s)                                )


                                                        SUMMONS IN A CIVIL ACTION

   To:   ()elbndant'.q nome and addre.ss)
                                                         412 North E Street LLC
                                                         INCORP SERVICES, TNC
                                                         17888 67TH COURTNORTH
                                                         LOXAHATCHEE, FL 33470

             A lawsuit has been filed against you.

             Within 2t days after seruice of this summons on you (not counting the day you received it)                   or 60 days if you
                                                                                                        -
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. I 2 (aX2) or (3)        you must
                                  serve             on the plaintiff an answer to the attached complaint or a motion under Rule I 2    of
                     -
   the Federal Rules of Civil Procedure.             The answer or motion must be served on the plaintiffor plaintiff s attorney,
   whose name and address          are:       Gary Rosen, Esq. 1g0012
                                              Rosen Law LLC
                                              2'16 Lakeville Road
                                              Great Neck, New York 1'1020



          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
   You also must file your answer or motion with the court.



                                                                                     CLERK OF COURT



   Date:
                                                                                                Signature of'Clerk or Deptily Clerk
Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 40 of 98




   AO 440 (Rev. 06/12) Surnmons in a Civil Aciion


                                         UxTTED STaTES DISTRICT CoURT
                                                                   for the

                                                       Southcrn District of   Florida m
                       TAMARA FILIPPOVA



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                               Ptaintffis)                           )

                                    v.                                        Civil Action No.
           lLlA MOGILEVSKY, et al. (see attached)


                                                                     )
                                                                     )
                              De.lbndo nt(s)                         )

                                                    SUMMONS IN A CIVIL ACTION

  To:   (De.lbndant's name and   addre-ts)                          LLC
                                                     321 NOrth F Street
                                                     INCORP SERVICES, INC
                                                     17888 67TH COURT NORTH
                                                     LOXAHATCHEE, FL 33470


            A lawsuit has been filed against you.

           Within 2l days after service of this summons on you (not counting the day you received it)     or 60 days if you
                                                                                                                 -
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2\ or (3)   you must serve on the plaintiffan answer to the attached complaint or a motion under Rule 12 of
                         -
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney,
  whose name and address          are:    Gary Rosen, Esq. 1g0012
                                          Rosen Law LLC
                                          216 Lakeville Road
                                          Great Neck, New York 1'1020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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                                                                                CLERK OF COURT



  Date:
                                                                                           Signature q/'Clerk or Deputy Clerk
Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 41 of 98




   AO 440 (Rev. 06/12) Surnmons in a Civil Action


                                             IJXTTED STaTES DTSTRTCT COURT
                                                                       for the

                                                           Southern District of Florida

                       TAMARA FILIPPOVA                                   )
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                               Plaintffis)                               )
                                                                         )
                                      v.                                         Civil Action No.
                                                                         )
           lLlA MOGILEVSKY, et al. (see attached)
                                                                         )




                              De.fe   ndant(s)


                                                      SUMMONS IN A CIWL ACTTON

  To:   ()e.fbndant's nome and addre,ss)
                                                    1207North H Street LLC
                                                    INCORP SERVICES, INC
                                                    17888 67TH COURT NORTH
                                                    LOXAHATCHEE, FL 33470


            A lawsuit has been filed against you.

           Within 2l days after service of this summons on you (not counting the day you received it)     or 60 days if you
                                                                                                                      -
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
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                         -
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiffor plaintiff s attorney,
  whose name and address              are:   Gary Rosen, Esq. 1g0012
                                             Rosen Law LLC
                                             216 Lakeville Road
                                             Great Neck, New York 11020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT



  Date:
                                                                                              iignature o! Ctirrk i, Orprily Clerk
Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 42 of 98




   AO 440 (Rev. 06/12) Surnmons in a Civil Aition


                                         IJNTTED STATES DTSTRICT CoURT
                                                                    for the

                                                        Southern District of   Florida m
                       TAMARA FILIPPOVA




                               rtaintffisl
                                    v.                                         Civil Action No.
           lLlA MOGILEVSKY, et al. (see             attached)         )



                              De.lbndont(s)


                                                      SUMMONS IN A CIVIL ACTION

   To: lDelendant's nome and     address)            NOrthwOOd Single Family        LLC
                                                     INCORP.SERVICES, INC
                                                     17888 67TH COURT NORTH
                                                     LOXAHATCHEE, FL 33470


            A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it)             *
                                                                                                             or 60 days if you
  are the United States or a United States agency, or an offrcer or  employee   of the United States described in Fed. R. Civ.
  P. l2 (aX2)  or (3)   you  must serve on the plaintiffan answer   to the attached  complaint or a  motion under Rule l2 of
                         -
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiffor plaintiffs attorney,
  whose name and address          are:    Gary Rosen, Esq. 1g0012
                                          Rosen Law LLC
                                          216 Lakeville Road
                                          Great Neck, New York 11020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT



  Date:
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Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 43 of 98




   AO 440 (Rev. 06/12) Surnmons in a Civil Aition


                                         UXTTED STaTES DTSTRICT CoURT
                                                                     for the

                                                         Southcrn District of   Florida m
                       TAMARA FILIPPOVA




                               Plainrffis)
                                    v.                                          Civil Action No.
           ILIA MOGILEVSKY, et al, (see attached)




                              Defcnda nt(s)


                                                    SUMMONS IN A CIWL ACTION

  To: ()qfendant's   nome and   addre.ss)           n5    SOUth   F Stfeet LLC
                                                    147 Sedona Way
                                                    Palm Beach Gardetrs, FL 33418



            A lawsuit has been filed against you.

            Within 2 I days after service of this summons on you (not counting the day you received it)                       or 60 days if you
                                                                                                                          -
  are the United States or a United States agency, or an offrcer or employee of the United States described in Fed. R. Civ,
  P. l2 (aX2) or (3)    you must serve on the plaintiff an answer to the attached complaint or a motion under Rule l2 of
                         -
  the Federal Rules of Civil Procedure. The answer or motion must be served on the                 plaintiffor plaintiffs attorney,
  whose nanre and address are:
                                 Gary Rosen, Esq. 1g0012
                                 Rosen Law LLC
                                 216 Lakeville Road
                                 Great Neck, New York 11020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



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                                                                509 North            K Street LLC
                                                                NCORP SERVICES, INC
                                                                17888 67TH COTJRT NORTH
                                                                LOXAHATCHEE, FL 33470


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                                                                   126 South J Street LLC
                                                                  INCORP SERVICES, INC
                                                                  17888 67TH COURT NORTH
                                                                  LOXAHATCHEE, FL 33470


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                                                       llosen Law LLC
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                                                                            127North F Street LLC
                                                                            INCORP SERVICE,S, INC
                                                                            17888 67TH COTJRT NORTH
                                                                            LOXAHATCHEE, FL 33470

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                                                                                     17888 67TH COTJRT NORTH
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                                                                                Baikal Real Estate Holdings, LLC
                                                                                Mogilevsky, Ilia
                                                                                4371 Northlake Blvd, Suite 305
                                                                                PALM BEACH GARDENS ,FL 33410


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                                                                                       147 Sedona Way
                                                                                       Palm Beach Gardens, FL 33419



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                                                                                          PALM BEACH GARDENS, FL 33418


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                                                                             Gary Rosen, Esq. 1g0012
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                                                                                  Hill 109, LLC
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                                                                                                                 PALM BEACH GARDENS, FL 33418


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                                                                                                         Gary Rosen, Esq. 1g0012
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                                                                                                         216 Lakeville Road
                                                                                                         Great Neck, New york 11020



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                                                                         MOGILEVSKY, NATALIA
                                                                         211 GRAND POINTE, DRIVE,
                                                                         PALM BEACH GARDENS, F'L 33418


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  wltosc nattre atttl arklress are:
                                                           Gary Rosen, Esq. 1g0012
                                                           flosen Law LLC
                                                           216 Lakeville Road
                                                           Great Neck, New york 11020




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                                                                                                     PALM BEACH GARDENS, FL 33418


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                                                                                    211GRAND POINTE DRIVE
                                                                                    PALM BEACH GARDENS, FL 33418


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Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 58 of 98




   AO 440 (Rev. 06/12) Surnrnons in a Civil Aition


                                          UXTTED STaTES DTSTRICT CoURT
                                                                          for the

                                                              Southern District of   Florida m
                       TAMARA FILIPPOVA




                                Plaintffis)
                                    v.                                               Civil Action No.
           lLlA MOGILEVSKY, et al, (see attached)




                               De.lbndant(s)


                                                         SUMMONS IN A CIVIL ACTION

   To: (Defendant's   nome and   address)
                                                         Hill 6094, LLC
                                                     Forest
                                                     MOGILEVSKY, NATALIA
                                                     211 GRAND POINTE DRIVE
                                                     PALM BEACH GARDENS, FL 33418


            A lawsuit has been filed against you.

            Within    2l   days alter service of this summons on you (not counting the day you received it)                  or 60 days if you
                                                                                                                         -
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (a)(2) or (3)   you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                           -
  the Federal Rules of Civil Procedure. The answer or motion must be served on the                      plaintiffor plaintiffs attorney,
  whose name and address are:
                                 Gary Rosen, Esq. 1g0012
                                 Rosen Law LLC
                                           216 Lakeville Road
                                           Great Neck, New York 11020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                       CLERK OF COURT



  Date:
Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 59 of 98




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                                                                      Hill 6106, LLC
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                                                                 211GRAND PONTE DRIVE
                                                                 PALM BEACH GARDENS, F'L 33418


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Case 9:18-cv-80044-KAM Document 1-2 Entered on FLSD Docket 01/16/2018 Page 60 of 98




   AO 440 (Rev. 06/12) Sumrnons in a Civil Aition


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                                                         Southern District of Florida

                       TAMARA FILIPPOVA                                )
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                              Delbndant(s)                             )


                                                      SUMMONS IN A CIWL ACTION

   To:   il)e.fendant's name and address)           Forest   Hill 205 , LLC
                                                    MOGILEVSKY, NATALIA
                                                    2II GRAND POINTE DRIVE
                                                    PALM BEACH GARDENS, FL 33418


             A lawsuit has been filed against you.

             Within 2l days after service of this summons on you (not counting the day you received it)                                 if you
                                                                                                        - or
                                                                                                                              60 days
   are the United States or a United States agency, or an offrcer or employee of the United States described in Fed. R. Civ.
   P. l2 (aX2) or (3)        you
                             must serve on          the plaintiffan answer to the attached complaint or a motion under Rule l2            of
                     -
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiffor plaintiffs attomey,
   whose name and address          are:     Gary Rosen, Esq. 1g0012
                                            Rosen Law LLC
                                            216 Lakeville Road
                                            Great Neck, New York 11020



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT



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                                                                        PALM BEACH GARDENS, FL 33418


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                                                                               MOGILEVSKY, NATALIA
                                                                               2l l Grand pointe Drive
                                                                               PALM BEACH GARDENS ,FL 33418


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                                                                  llosen Law LLC
                                                                  216 Lakeville Road
                                                                  Great Neck, New york 11020




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                                                                     Maxim Real Estate Holdings LLC
                                                                     MOGILEVSKY, NATALIA
                                                                     211 Grand pointe Drive
                                                                     PALM BEACH GARDENS, FL 33418


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                                                                        llosen Law LLC
                                                                        216 Lakeville Road
                                                                        Great Neck, New york 11020




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                                                          TAMARA F:II.IPPOVA




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                                                                                                                 216 Lakeville Road
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                                                                             Gary Rosen, Esq. 1g0012
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   AO 440 (Rev. 06/12) Stunrnons in a Civil Aition


                                          UxTTED STaTES DTSTRICT COURT
                                                                     for the

                                                         Southern District of Florida

                        TAMARA FILIPPOVA




                                Plaintffis)
                                     v.                                        Civil Action No.
           lLlA MOGILEVSKY, et al. (see attached)




                               Delbndant(s)


                                                       SUMMONS IN A CIWL ACTION

   TO: lDefbndant's name and address)
                                                     1453 Lake Crystal, LLC
                                                     MOGILEVSKY, NATALIA
                                                     2II GRAND POINTE DRIVE
                                                     PALM BEACI{ GARDENS, FL 33418

             A lawsuit has been filed against you.

             Within 2l days a{ter senrice of this summons on you (not counting the day you received it)                    *
                                                                                                           or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (aX2) or (3)    you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                          -
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attomey,
   whose name and address          are:    Gary Rosen, Esq. 1g0012
                                           Rosen Law LLC
                                           216 Lakeville Road
                                           Great Neck, New York 11020



          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
   You also must file your answer or motion with the court.



                                                                                  CLERK OF CAURT



   Date:
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                                                                                                                            PALM BEACH GARDENS, FL 33418


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                                                                                                                      PALM BEACH GARDENS, FL 33418

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  whose ttatlre atttl atltlrcss                                                              itt'e:
                                                                                                                Gary Rosen, Esq. 1g0012
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                                                                                                                216 Lakeville ftoad
                                                                                                                Great Neck, New York 11020




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  AO 440 (t{ev.   06/l?\   Sunrrnons in a Clir,,il Acliorr



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                           TAMARA FILIPPOVA




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                                                             6080l1orest Hill, LLC
                                                             MOGILEVSKY, NATALIA
                                                             211 GRAND POINTE DRIVE
                                                             PALM BEACH GARDENS, FL 33418

            A lawsuit has becn lilcd against you.

            Within2l daysaftcrscrviccof tlrissumtlronsonyou(notcountingthcdayyoureccivedit)-or60claysifyou
 are the United States or a Unitcd States agcncy. or an officer or employee of the tinitecl States described in ped. R. Civ.
 P. l2 (a)(2) or (3) ** yott tnust serve on the plaintifl'arr answer to the attached corrrpla int or a nrotion under Itule I 2 of
 the Federal Itules of Clivil Procedure. The answer or nrolion nrust be served on the plairrtifl'or plaintift's attorney,
 whose tratrre ancl aclclress are:
                                                  Gary Rosen, Esq. 1g0012
                                                  Rosen Law LLC
                                                  216 Lakeville Road
                                                  Great Neck, New York 11020



        Il"you fail to respolrcl,judgrnerrt [ry dclault will be errtcrecl agairrst you for tfie relief clerlandecl in the cornplaint.
 Yon also rnust file yorlr answer or rnotion with tlre court.



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                                   TAMARA FILIPPOVA




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  whosc ttatrte atttl atltlrcss                      itte:            Gary Rosenr Esq. 1g0012
                                                                      llosen Law LLC
                                                                      216 Lakeville Road
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                                                           6l 12 Forest Hill, LLC
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            A lawsuit      has bccn       filcd against you.

          Within 2l days aftcr servicc of tlris sulrrnons on you (rrot counting tlrc clay you rece ivcd it)       or 60 clays if you
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 P. 12 (a)(2) or (3)     yott nrttst serve on lhe plaintil'f an answer to the attachecl conrplaint or a rrrotion under llule l2 of
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 tlrc Federal Ittrles ol'Civil Procedtrre. The answer or nrotion rrrnst be served on the plaintitTor plainliff-s attorney,
 whose tranre and address are:
                                                 Gary Rosen, Esq. 1g0012
                                                 Rosen Law LLC
                                                 216 Lakeville Road
                                                 Great Neck, New York 11020



         If you fail to t'cspottd,.itrclgmerrt by default will be crrterecl against you for tlre reliel"derrrarrclecl in the comptairrt.
 Yotr also nrtrst file your answer or urotion with tlre court.



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                        TAMARA FILIPPOVA




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                                                             MOGILEVSKY, NATALIA
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                                                             PALM BEACH GARDENS, FL 33418


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          Within 2l clays afltcr scrvicc of this sullltrlons on you (rrot counting thc clay you receivcd it)    or 60 clays if you
 are the Urrited States or a Urrilcd States agcncy, or an officer or employee of the tjnited States described in f'ed.
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 P. l2 (a)(2) or (3) ._ yott rnttst serve or1 the plaintiff an answcr to the attached conrplaint or a nrotiorr under Itule l2 of
 the F'edcral ltules ol'Civil Procedure. The atrswer or nrotion nrust be servetl on the plaintilIor plerirrtiff's attorney,
 whose nattre and aclclress are:
                                                     Gary Rosen, Esq. 1g0012
                                                     Rosen Law LLC
                                                     216 Lakeville Road
                                                     Great Neck, New York 11020



        lf you fail to respoltd, iudgntenl by default will tre enterccl agairrst you for the relief dcrrrancle<l irr t1e cornplaint.
You also nrust file yortr answer or rnotion with the court.



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                              TAMARA FILIPPOVA




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                                                                           Custom Investments (Florida), LLC
                                                                           MOGILEVSKY, ILIA
                                                                           I47 SEDONA WAY
                                                                           palm Beach Gardens,
                                                                                               FL 3341g

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                               TAMARA FILIPPOVA




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                                                                           NORTH PALM BEACH, FL 33408

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                                                                Great Neck, New york 11020



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